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                        EXHIBIT 39
           Deposition of James Tilton
                September 3, 2008
         (Phase II Counter-Designations)
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                                                                                          1


 1                    UNITED STATES DISTRICT COURT
 2                 EASTERN DISTRICT OF CALIFORNIA
 3             AND THE NORTHERN DISTRICT OF CALIFORNIA
 4     UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
 5     PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
 6

 7    RALPH COLEMAN, et al.,
 8                Plaintiffs,
 9   VS.                                No. CIV S-90-0520 LKK JFM P
                  \
10   ARNOLD SCHWARZENEGGER, et al.
11                Defendants.

     ------------_/
12
      MARCIANO PLATA, et al.
13
                  Plaintiffs,
14    VS.

15    ARNOLD SCHWARZENEGGER, et al.
16                Defendants.

     ------------_/
17
18                    Deposition of JAMES EDWIN TILTON                               (.

19
20   ' DATE:                SEPTEMBER 3, 2008
21    TIME:                 9:41 A.M.
22    LOCATION:             ROSEN, BIEN & GALVAN
                            315 Montgomery Street, 10th Floor
23                          san Francisco, California 94104
24    REPORTED BY:          Cari L. Waters-Drewry
                            Certified Shorthand Reporter
25                          License Number 12401
,-_... __ ... _..   _--   -   --_.   _.   __ __.. _.__
                                            ._.          . _ - - _ . _ . _. . _ - - - - - - - - - _ .. -   _.- -------_ .. -   _.   _.-   _. ._._._._-_._---------_   .. _ . _ - - - _ .   -   _.-   ._.-   -_.-




                                             Case 2:90-cv-00520-KJM-SCR                                                 Document 3454-6                  Filed 01/08/09                               Page 3 of 47
                                                                                                                                                                                                                              17


                          1           entity called Youth and Adult Correctional AuthoritYi is                                                                                                                 09:54:47

                          2           that correct?                                                                                                                                                            09:54:51

                          3                        A.              The Youth and Adult Correctional Agency?                                                                                                    09:54:51

                          4                        Q.              Correctional Agency, yes.                                                                                                                   09:54:54

                          5                        A.              Yes.                                                                                                                                        09:54:54

                          6                        Q.              And that was the secretary level, at that                                                                                                   09:54:55

                          7           point?                                                                                                                                                                   09:54:57

                          8                        A.              That's correct.                                                                                                                             09:54:58

                          9                        Q.              Prior to becoming deputy director for                                                                                                       09:55:02

                    10                administration, did you have other positions at CDCR?                                                                                                                    09:55:04

                    11                             A.              Yes, for the two years prior to that, I was                                                                                                 09:55:13

                    12                assistant deputy over financial operations.                                                                                                                              09:55:13

                    13                             Q.              Did you ever work for CDCR in a purely                                                                                                      09:55:21

                    14               ·custodial position, such as warden or deputy warden?                                                                                                                     09:55:26

                    15                             A.              No.                                                                                                                                         09:55:32

                    16                              Q.             Were you ever a correctional officer?'                                                                                                      09:55:34

                    17                             A.              No.                                                                                                                                         09:55:37

                    18                              Q.             When did you first begin working at CDCR?                                                                                                   09:55:44

                    19                             A.               In 1985.                                                                                                                                   09:55:48

                     20                             Q.             What was your prior work experience before                                                                                                  09:55:50

                     21               that?                                                                                                                                                                    09:55:53

                     22                            A.               I was with the Department of Finance.                                                                                                      09:55:53

                     23               Classification was principal program budget analyst, and                                                                                                                 09:55:54

                     24               I had the corrections assignment.                                                                                                                                            09:56:04
                                                                                      \
                     25                             Q.              Okay.              And when did you begin that period of                                                                                       09:56:08
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                                                                                          18


 1     time in finance?                                                        09:56:12

 2          A.     1984, April, I think.                                       09:56:13

 3          Q.     What's your educational background?                         09:56:35

 4          A.     I have a degree from    Californ~a State                    09:56:38

 5     University Sacramento, major in accounting.                             09:56:40

 6          Q.     Is that a BA?                                               09:56:50

 7          A.     BS.                                                         09:56:52

 8          Q.     BS.   Okay.                                                 09:56:54

 9                 As -- turning to the time right before you                  09:57:45

10     became acting secretary, can you explain how -- what                    09:57:51

11     role DOF has in reviewing budget items
                                           \
                                              that relate to                   09:57:56

12     corrections.      Let's just look at, for example, in 2005,             09:58:04

13     what's the process?       How does DOF and CDCR relate in               09:58:11

14     terms of budget?                                                        09:58:19

15          A.     Well, generally, there's a process where the                09:58:20

16     Department puts proposals forward requesting                            09:58:22

17··   modifications or adjustments to their budget.          Those            09:58:26

18     documents are reviewed, analyzed by Department of                       09:58:30

19     Finance staff, and recommendations are made on those                    09:58:32

20     requests.                                                               09:58:35

21          Q.     When does that process begin in a budget year?              09:58:43

22          A.     Well, it's kind of a continual process because              09:58:47

23     of the communication dialogue for the Department of                     09:58:50

24     Finance to understand the issues the Department may                     09:58:53

25     bring up, but it formally starts in end of August versus                09:58:55
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 1   the Department's success in meeting the expectations of                10:32:52

 2   the legislature.                                                       10:32:56

 3        Q.     Had the Department encountered some obstacles              10:33:01

 4   in terms of the capital outlay, part of AB 900?                        10:33:05

 5        A.     Yes.                                                       10:33:08

 6        Q.     And what were those?                                       10:33:08

 7        A.     Getting funding released for projects.                     10:33:10

 8        Q~     Were you informed why funding had not been                 10:33:15

 9   ~eleased    for projects for AB 900?                                   10:33:19

10        A.     You need to talk to attorneys, but there were              10:33:23

11   a series of issues that were given to me in terms of                   10:33:26

12   language in the bill, as well as other steps that                      10:33:29

13   prevented us from getting access to the bond funds.       \            10:33:30

14        Q.     Do you understand that the Attorney General's              10:33:39

15   office had issued an opinion that the bond funding                     10:33:44

16   mechanism of AB 900 needed to be modified before the                   10:33:49

17   projects would go forward?                                             10:33:54
                                                                                               I
18                MS. TILLMAN:   I'll object to the extent that             10:33:56        , 'i




19   it calls for any information that he might obtain                      10:33:57

20   through the course of an attorney/client communication.                10:33:59

21   If he can answer without calling upon such information,                10:34:01

22   he's free to do so.                                                    10:34:02

23                THE WITNESS:   Well, maybe I'll just answer it            10:34:09

24   this way:     Is, we know we need a legal opinion from the             10:34:11

25   Attorney General's office in order to issue bonds, and I               10:34:17
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 1   know there were issues that prevented them from being                  10:34:18

 2   able to issue that opinion ..                                          10:34:21

 3             MR. BIEN:   Q.   That's fine.                                10:34:23

 4             Were there any other reasons you're aware of                 10:34:32

 5   that stood in the way of proceeding with getting access                10:34:35

 6   to the funds for the capital projects?                                 10:34:39

 7             MS. TILLMAN:     I'll make that same objection.              10:34:42

 8   If you can answer without any attorney/client                          10:34:44

 9   communications, feel free to.                                          10:34:44

10             MR. BIEN:   Sure.                                            10:34:47

11             THE WITNESS:     We, as part of our review of the            10:34:47

12   projects, we were reassessing the scope of some of those               10:34:49

13   projects to determine whether they -- with changing                    10:34:53

14   population of the Department, whether they met the needs               10:34:56

15   of the population.                                                     10:35:00

16             So there was a process'"' of us to reassess                  10:35:01

17   sites, for example.   Identified some sites that we                    10:35:03

18   thought we could build that had barriers to those.        And,         10:35:08

19   so, we were reassessing the locations of certain sites                 10:35:12

20   for the infill.                                                        10:35:15

21              In addition, we spent a significant amount of               10:35:16

22   time working with the communities on the siting of                     10:35:19

23   re-entry because that I s a pot of money for it.     And, so,          10:35:22

24   we were -- the expectations of AB 900 is, we would go to               10:35:25

25   willing communities, so we spent a lot of time working                 10:35:31
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1    with communities to identify where, in fact, could we                .10:35:33

2    place re-entry.   Both of those were steps that needed to             10:35:34

3    be taken before we actually started specific projects.                10:35:38

4              MR. BIEN:   Q.   When you said the AB 900, for              10:35:43

 5   re-entry beds, required willing communities, can you                  10:35:46

 6   explain what that means.                                              10:35:50

 7        A.   Well, basically, yes, we required communities               10:35:51

 8   to    there was an incentive to support us, but we would              10:35:54

 9   go to communities that accepted us.    And that was,                  10:35:58

10   without that, you don't have the principals of the                    10:36:02

11   reform, which is to provide better community ties as                  10:36:03

12   inmates are coming out of the prison and going back in.               10:36:04

13             So the legislature required it, but we would                10:36:08
                                                                            )




14   have had to have it anyways.    Without that partnership,             10:36:10

15   these facilities would not reach the reform, changes                  10:36:14

16   that we were looking forward to having an impact on the               10:36:17
                                                  I


17   population.
              \
                                                                           10:36:19

18        Q.   When you talk about partnership, can you                    10:36:21

19   explain to me more what you meant about what was                      10:36:24

20   required to make the re-entry specifics work.                         10:36:25

21        A.   Well, the goal of re-entry was two-fold.      The           10:36:27

22   basic principal was that we needed communities to                     10:36:30

23   acknowledge that these were citizens coming back to                   10:36:34

24   their communities, and they needed to be part of the                  10:36:34

25   linkages back into whether it be community services or                10:36:38
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       1    more rigorous analysis of the requirements of AB900 and                 10:40:28

       2    the cost of the infill beds, that you understood that to                10:40:33

       3    build all of the beds AB 900 anticipated for infill,                    10:40:42

       4.   that you would have to at least augment or come back for                10:40:42

       5    additional funding?                                                     10:40:45

       6        A.     That was the projection, whether it came true                10:40:46

       7    or not, would be, wait until we get into the projects.                  10:40:49

       8         Q.    You also mentioned, at least as to the infill,                10:41:21

       9    that there were some issues with the sites that emerged                  10:41:25

      10    after AB 900 was enacted.                                                10:41:30

      11         A.    That's correct.                                               10:41:33

      12         Q.    Can you describe any of those issues?                         10:41:35

      13         A.    Well, the initial projects were identified as                 10:41:37

      14    part of a special session of legislation, very quickly.                  10:41:39

      15    It was an emergency session, and we had identified what                  10:41:43

      16    we thought, that we could build sites, but they had not                  10:41:46
                                                     I
      17    done the full site review and inspection.                                10:41:50

      18               And, so,   ~s   we moved into those projects, it              10:41:53

      19    was identified that there,) in fact, were barriers or                    10:41:56

      20    things we.identified that prevented us from building at                  10:42:00

      21    the original sites that we had talked about.                             10:42:03

      22         Q.    And that emergency session was in the summer                  10:42:06

      23    of 2006?                                                                 10:42:09

      24         A.    That's correct.                                               10:42:11

      25         Q.    I don't have it right here to show you, but is                10:42:19




--I
  I

  I
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 1        Q.     When you say reestablishing a capital outlay                  11:21:22

 2   program, had there been a major capital outlay program                    11:21:25

 3   for CDCR in your tenure that had been approved and moved                  11:21:29

 4   forward?                                                                  11:21:33

 5        A.     Yes, I was there when we built 20 prisons.                    11:21:34

 6        Q.     Okay.    And do you recall what time frame that                11:21:39

 7   was done?                                                                  11:21:40

 8        A.     Well, I got there in '85.        They had started a            11:21:41

 9   couple, and we activated        I think all of them were                   11:21:45

10   activated under my watch when I was there, most of them.                   11:21:48

11   I think there may have been existing prisons, two or                       11:21:51

12   three, that got activated after I left in '98, but, by                     11:21:54

13   and large, they were all done prior to that.                               11:21:58

14        Q.     Is it correct that upon completion of that                     11:22:05

15   very major prison construction project, that the                           11:22:08

16   long-term capital planning and construction process for                    11:22:11

17   CDCR stopped for a while?                                                  11:22:18

18        A.     True.                                                          11:22:21

19        Q.     Okay.                                                          11:22:22

20               MR. BIEN:    I've asked the court reporter to                  11:22:49

21   mark several exhibits during the break to kind of speed                    11:22:52

22   things up a little bit.                                                    11:22:56

23        Q.     Let me show you, the first document was marked                 11:22:57
                                              \
24   as Exhibit 1.       It is called Inmate Population                         11:23:01

25   Rehabilitation, and Housing Management Plan dated July                     11:23:05
                                                                     I
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 1   2006.        It bears Production Number CDCR 006341 through                11:23:09

 2   6353.                                                                      11:23:12

 3                  You can look at) that, Mr. Tilton.                          11:23:21

 4                  MR. BIEN:   I have a copy for you, Lisa and                 11:23:24

 5   Bruce.                                                                     11:23:28

 6                  MS. TILLMAN:     Thank you.                                 11:23:29

 7                  THE WITNESS:     (Witness reviewing document.)              11:23:31

 8   Okay.                                                                      11:23:31

 9                  MR. BIEN:   Q.    Mr. Tilton, can you identify              11:25:06

10   this document?                                                             11:25:09

11           A.     This was a document that was prepared at my                 11:25:10

12   request to raise to people's attention the need to                         11:25:12

13   provide increased facilities for the Department and was                    11:25:16

14   the initial discussion point of the special session.                       11:25:19

15           Q.     .When you say, the special session, can you                 11:25:28

16   explain what that is?                                                      11:25:30

17           A.      Well, one of the issues that I identified when             11:25:32

18   I went over as a secretary, temporarily, was to address                    11:25:35

19   the lack of program and the overcrowding situation, so                     11:25:37

20   this was a document that was my initial raising the                        11:25:41

21   issue about, what do you do to solve the problem?           And            11:25:47

22   this was the initial proposal.                                             11:25:50

23           Q.      So you'd been on the job for   a few months; is            11:25:52

24   that correct?                                                              11:25:56

25           A.      Sixty days, I think, uh-huh.                               11:25:56
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 1   challenges, to convince communities that, they are                       12: 31: 54

 2   coming back.                                                             12:31:57

3                I don't get to decide when they come out, and                12:31:58

 4   we all need to think about, what do we do that's smarter                 12:32:00

 5   in terms of dealing with an individual who has been                      12:32:03

 6   locked up for a long time, and all of a sudden, they get                 12:32:05

 7   dropped off in your bus depot.                                           12:32:08

 8        Q.     So is it correct that you ',re advocating not                12:32:12
                          '.

 9   only improved programs in the prisons for prisoners                      12:32:18

10   before they were released to the public, but also                         12:32:23

11   programs to be provided for them once they arrived in                     12:32:27

12   their counties of destination for parole?                                12:32:30

13        A.     Yes, and a clear hand-off between the two.                   12:32:33

14        Q.     What do you mean?                                             12:32:37

15        A.     Well, it's -- one of the principals of a                      12:32:37

16   re-entry facility is, you can have the same providers of                  12:32:40

17   services that would provide services to citizens can                      12£32:45

18   provide those services when you're in the re-entry                        12:32:48

19   facility.                                                                 12:32:52

20               So when you leave, i't' s a logistic                          12:32:53

21   where-you-live issue and not whether the providers would                  12:32:56

22   assist you and provide that transition, so it's not a                     12:32:57

23   really a hand-off.        You just move out into the community            12:33:00

24   and still get those consistency after consistency of                      12:33:03

25   services, whether it be mental health, drug treatment,                    12:33:03
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     1    negative management,. jobs, all those issues, so there is            12:33:03

     2    a clean transition, so it's not a delay in maintaining               12:33:03

     3    support or service levels.                                           12:33:16

     4         Q.   Was it your belief in 2006 that this kind of               12:33:18

     5    clean transition was not being -- not occurring                      12:33:22

      6   frequently enough in -- for prisoners paroling from                  12:33:30

      7   California prisons?                                                  12:33:33

      8        A.   Yes.                                                       12:33:35

      9        Q.   And' what was that based on?                               12:3,3:35

 10            A.   The lack of program in the facilities, the                 12:33:37

 11       lack of good planning, the lack of assessment, good                  12:33:40

 12       assessments, and just that.   It was pretty obvious.                 12:33:42

 13       There was not a clear transition, that inmates were not              12:33:46

 14       accepted back in the communities.   They were, in fact,              12:33:50

 15       in many cases, barred f~om getting services.                         12:33:52

 16            Q.   When you were secretary of CDCR, did you --                12:33:57

 17       did you ever receive reports that parolees had been                  12:34:03

 18       barred from receiving medical or mental health services              12:34:07

 19       in communities around California?                                    12:34:11

     20        A.   Yes.                                                       12:34:13

     21        Q.   Do you recall any examples of that?                        12:34:13

     22        A.   Yes.   I mean, I can't give you specific                   12:34:17

     23   titles, but, basically, it was brought to my attention               12:34:20

     24   that we were violating parolees for the sole purpose is              12:34:23
')
     25   that the parole agent cannot get them mental health                  12:34:28
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 1   services for parolees between counties and the CDCR?                     12:35:39

 2       A.     Yes.                                                          12:35:44
                                              (

 3        Q.    Can you describe the issue, as you see it?                    12:35:45

 4        A.    Driven by the language in Prop 63, many                       12:35:46

 5   counties believe they have no responsibility to provide                  12:35:50

 6   services to parolees and that it's a state                               12:35:53

 7   responsibility.    I disagree, but that's where many                     12:35:55

 8   county mental health directors are.                                      12:36:03

 9        Q.    Let me show you what's been marked Exhibit 4.                 12:36:27

10   It is dated June 26, 2006, and it's a -- one, two,                       12:36:28

11   three -- five-page document, which is the Governor's                     12:36:32

12   Remarks   concernin~ the    special session.                             12:36:43

13              MS. TILLMAN:     Thank you.                                   12:36:47

14              THE WITNESS:      (Witness reviewing document.)               12:36:49

15               (Discussion off the record.)                                 12:39:17

16              MR. BIEN:   Q.    Mr. Tilton, have you had a                  12:40:20

17   chance to look at Exhibit 4?                                             12:40:22

18        A.     Yes.                                                         12:40:23

19        Q.    Were you present when the Governor made these                 12:40:25

20   remarks on June 26, 2006?                                                12:40:29

21        A.     I don't believe so.                                          12:40:32

22        Q.     If you turn to the third page, the second                    12:40:33

23   paragraph from the top, at the end, he says,        "Our                 12:40:47

24   prisons are dangerously overcrpwded right-now."                          12:40:52

25               And then he goes and describes the use of                    12:41:00
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 1   There was a re-org that took place, but .no rehab, so                   12:47:43

 2   where's the R?                                                          12:47:49.

 3          Q.   Did you agree that in order to implement                    12:47:51

 4   programs that you were envisioning as necessary to                      12:47:57

 5   reduce recidivism, the Department would have to create                  12:48:02

 6   some program space by reducing overcrowding?                            12:48:06

 7          A.   Yes.                                                        12:48:07

 8          Q.   So it was difficult to implement programming                12:48:08

 9   in the overcrowded prisons as they existed when you came
                                                         .---/
                                                                             12:48:13

10   into office?                                                            12:48:17

11          A.   Yes.                                                        12:48:18

12          Q.   Let me show you what's been marked as                       12:48:25

13   Exhibit 5 to your deposition, Mr. Tilton, which is a                    12:48:27

14   document dated August 2006.        It bears production numbers          12:48:30

15   CDCR019431 through 454.                                                 12:48:36

16               MS. TILLMAN:   Just for the record, it looks                12:48:48
                                                              '"
17   like there's some handwriting on the copy presented.                    12:48:49

18   Obviously, that's not part of the original document.                    12:48:52

19               MR. BIEN:   My understanding is, this is the                12:48:58

20   way it was produced.                                                    12:49:00

21               MS. TILLMAN:   Is that right?                               12:49:01

22               MR. BIEN:   Yeah.                                           12:49:02

23               MS. TILLMAN:   Okay.                                        12:49:02

24               MR. BIEN:   Although_     yeah.   I did check that          12:49:03

25   out.                                                                    12:49:09
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 1         Q.   You're free to review it in detail.       I'm              12:49:43

 2    actually going to ask you only about some questions                  12:49:48

 3    beginning on Page 12.    Take your time to look at                   12:49:59

 4    whatever you'd like.                                                 12:50:07

 5         A.   Okay.                                                      12:50:46

 6         Q.   Mr. Tilton, can you identify this document as              12:50:51

 '7   a -- can you tell us what it is?                                     12:50:55

 8         A.   I don't recall the details of all of it, but I             12:50:56

 9    believe this is testimony that I presented in front of               12:50:59

10    the Senate.                                                          12:51:03

11         Q.   :En August 2006?                                           12:51:04

12         A.   Yes.                                                       12:51:06

13         Q.   This is still part of the special session?                 12:51:06

14         A.   Yes.                                                       12:51:11

15         Q.   Actually, if you turn to Page 15, if you will.             12:51:14

16    On the top of the page, it says,   "Overcrowding,                    12:51:20

17    non-traditional beds."                                               12:51:24

18              In the first sentence, there, it say:s,     "As of         12 :'51: 45

19    August 9, 2006, our population is 172,176 inmates.        Of         12:51:47
                                                 I,



20    that number, approximately 16,000 inmates are in                     12:51:53

21    non-traditional overcrowding beds."                                  12:51:57

22              At the time that you retired from the                      12:52:01

23    Department of Corrections in the spring of this year,                12:52:02

24    2008, Mr. Tilton, do you know how many inmates were                  12:52:05

25    still in non-traditional beds?                                       12:52:10
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 1   high risk to reoffend inmates.                                        01:54:54

 2             And that's why this here talks about place of               01:54:55

 3   parole teams, basically work together, so we know who's               01:54:57

 4   coming out of prison.    And that can adjust both the                 01:55:00

 5   program, as well as the security concerns of that                     01:55:04

 6   population.                                                           01:55:06

 7        Q.   If you turn two more pages in, Page 13, in the              01:55:09

 8   second paragraph, you talk about the need for a local                 01:55:19

 9   support for the parole re-entry facilities.                           01:55:22

10             Between December of 2006 and the time you left              01:55:32

11   CDCR in May of 2008, is it correct that you devoted                   01:55:37

12   substantial time to the effort to convince local                      01,: 55: 43

13   communities to participate in the parole reform effort?               01:55:47

14        A.   Yes.                                                        01:55:53

15        Q.   And one of your goals was to have local                     01:55:53

16   communities apply for jail beds and parole re-entry                   01:56:00

17   beds; is that correct?                                                01:56:06

18        A.   Yes.                                                        01:56:07

19        Q.   And AB 900, of course, provided the mechanism               01:56:08

20   for that in the spring of 2007; and you actually had a                01:56:17

21   program that you could show people?                                   01:56:21

22        A.   Yes.                                                        01:56:22

23        Q.   In discussing these issues with the local                   01:56:26

24   communities, was one issue that was raised by local                   01:56:32

25   communities who would operate the re-entry facilities,                01:56:36
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1    were there, and we made some recommendations to the                         02:08:48
                                                                                                   "   ,
 2   Receiver's office about how to address medical side in                      02:08:51

3    conjunction with mental health to be consistent and                         02:08:55

 4   efficient.                                                                  02:08:59

 5                MR. BIEN:   I think we're finally finished with                02:09:04

 6   Exhibit 1.     Let me show you what's been marked as                        02:09:08

 7   Exhibit 8 to your deposition, which is a -- also from                       02:09:25

 8   CDCR publication or website -- a two-page document.             It          02:09:28

 9   doesn't appear -- it has Thursday, January 11th, 2007,                      02:09:40

10   on it.                                                                      02:09:44

11                MS. TILLMAN:     Thank you.                                    02:09:49

12                THE WITNESS:     (Witness reviewing document.)                 02:09:51

13                MR. BIEN:   Q.    Is it correct that you                       02:10:21

14   continued, 'along with the administration, to advocate                      02:10:27

15   for changes that you had sought in the next legislative                     02:10:30

16   session, 2007/2008?                                                         02:10:35

17        A.      Yes.                                                           02:10:37

18        Q.      There's a quote 'in the first page of Exhibit 8                02:10:39

19   that purports to be from you.        Is this -- I'll read it.               02:10:42

20   "The Department of Corrections owns the responsibility                      02:10:48

21   to assist inmates who are willing to change their ways                      02:10:51

22   with the basic tools of education, life skills, drug                        02:10:51

23   treatment, and mental health, so they can get better                        02:10:51

24   when they leave Corrections -- not worse.            But until I            02:10:51

25   get overcrowding reduced -- then I don't have the                           02:10:51
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 1            opportunity to provide the program that I believe is my                02:10:51

 2            charge,lI end quote.                                                   02:10:51

 3                         Is that a statement that you made in early                02:11:10

 4            2007?·                                                                 02:11:12

 5                 A.      Yes.                                                      02:11:14

 6                 Q. /    That's something that you still believe today?            02:11:16

 7                 A.      Yes.                                                      02:11:19

 8                 Q.      At the time you left CDCR in the spring of                02:11:19

 9            2008, did you believe'that overcrowding had been'reduced               02:11:26

10            sufficient to allow CDCR to provide the programs                       02:11:30

11            necessary to prisoners?                                                02:11:35

12                 A.      It's a start.                                             02.: 11: 37

13                 Q.      Made a start?                                             02:11:40

14                 A.      Um-hum.                                                   02:11:41

15                 Q.      Did you believe that the substantial                      02:11:41

16            additional capacity or population reduction was                        02:11:45

17            necessary to effectively deliver programs to prisoners?                02:11:50

18                 A.      I'm going to qualify my statement, is that                02:11:54

19            over time, there were improvements I could make in the                 02:11:57

20            existing without dealing with. the overcrowding and                    02:12:01

21            space.      I identified some inefficiencies of use of our             02:12:03

22            program resources, and then as we reduced overcrowding,                02:12:06
     '"''-\
23            we could bring in, in a systematic way, increased                       02:12:11

24            programming.                                                           02:12:17

25                         So it's not a snapshot in one day, but I was              02:12:18
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1    very pleased to see progress, population going the right                        02:12:22
                                                           (
 2   way, overcrowding going the right way, and the                                  02:12:23

 3   implementation of certain programs which would                                  02:12:26

 4   demonstrate ~o the legislature that more resources would                        02:12:28

 5   be effective in impacting the population in a good                              02:12:31

 6   public safety way.                                                              02:12:33

 7        Q.     You felt at the time you left Department of                         02:12:38

 8   Corrections there was a plan in place that would address                        02:12:41

 9   the overcrowding problems?                                                      02:12:46

10               MS. TILLMAN:     Objection.     Misstates testimony.                02:12:49

11               Go ahead.                                                           02:12:50

12               THE WITNESS:     Yes.                                               02:12:51

13               MR. BIEN:   Q.    Okay.     And by what date did you                02:12:52

14   understand that plan would accomplish sufficient                                02:12:59

15   reduction of overcrowding to bring prison operations to                         02:13:05

16   an appropriate level?                                                           02:13:12

17               MS. TILLMAN:     Objection.     Vague and ambiguous                 02:13:15

18   as to what is appropriate.                                                      02:13:22

~9               You can go ahead and answer the question.                           02:13:22

20               THE WITNESS:     Yeah, no date.     There were all                  02:13:22

21   kinds of factors in terms of population growth, as well                         02:13:22

22   as implementation of programs, the acceptance of                                02:13:22

23   re-entry.    And, so, it was a goal in mind and                but saw          02:13:23

24   the major change and how we were addressing the                                 02:13:28

25   problems.                                                                       02:13:34
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 1             It showed that we could, in fact, make a                        02:13:35

 2   positive success in terms of impact on recidivism.                        02:13:37

 3   Still a solid public safety way.      So enough examples                  02:13:40

 4   that we were demonstrating, we know how to do this.             We        02:13:45

 5   can get this in place.    We can, in fact, provide                        02:13:45

 6   alternatives.   We can, in fact, provide programs that                    02:13:50

 7   will be measured in successful and not risk the public                    02:13:50

 8   because we're making decisions just to get people out of                  02:13:53

 9   the prison systems.                                                       02:13:57

10             So enough evidence of that, we're on the right                  02:13:58

11   track, enough recommendations from folks and examples                     02:13:58

12   around the country that we could piggy-back on.          And,             02.: 14: 02

13   also, in my view, a move towards a management and                         02:14:07

14   accountability structure that would let us prove, in                      02:14:11

15   fact, we were being successful.                                           02:14:16

16        Q.   Let me show you what has been marked as                         02:14:21

17   Exhibit 7 to your deposition, which is the Overcrowding                   02:14:23

18   Proclamation by the Governor on October 4th, 2006.                        02:14:30

19             MS. TILLMAN:     I'm going to object.      That                 02:14:36

20   misstates the evidence.     I believe it's an emergency
                                                      )
                                                                               02:14:36

21   p~oclamation.                                                             02-: 14: 39

22             MR. BIEN:    You're correct.                                    02:14:42

23             MS. KNOTZ:     Exhibit 7.                                       02:14:46

24             MR. BIEN:    It's actually 7.    The last one was               02:14:48

25   8.                                                                        02:14:51
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 1               THE WITNESS:     (Witness reviewing document.)              02:14:55

 2               MR. BIEN:   Q.   Mr. Tilton, are you familiar               02:15:00

 3   with this document?                                                      02:15:02

 4          A.   Yes.                                                         02:15:02

 5          Q.   Can you identify what it is?                                 02:15:03

 6          A.   This is the emergency proclamation order                     02:15:05

 7   issued by the Governor, dealing with prison                              02:15:09

 8   overcrowding. '                                                          02:15:13

 9          Q.   Did you participate in a decision to issue                   02:15:13

10   this emergency proclamation at or near the time it was                   02:15:21

11   issued?                                                                  02:15:24

12          A.   Well, it's the Governor's office's decision,                 02:15:27

13   but, absolutely, I was part of this discussion.                          02:15:29

14          Q.   And given the failure of the special session,                02:15:33

15   did you think it was necessary and appropriate for the                   02:15:35

16   Governor to issue this emergency proclamation when he                    02:15:38

17   did?                                                                     02:15:43

18          A.   Yes.                                                         02:15:43

19          Q.   And why was that?                                            02:15:44

20          A.   I felt it was important not to give up on the                02:15:47

21   reforms we were trying to put in place, and we should                    02:15:51

22   not stop at any barrier to try every avenue to get                       02:15:55

23   authorization to make progress.                                          02:15:59

24          Q.   On the top of Page 2, there's a, "whereas"                   02:16:34

25   clause dealing with the effects of current, severe                       02:16:41
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 1   deposition of James Tilton.                                                03:17:38

 2                Please proceed.                                               03:17:40

 3                MR. BIEN:   Q.    Mr. Tilton, I've asked the                  03:17:43

 4   court reporter to mark as Exhibit 9 to your deposition a                   03:17:45

 5   four-page document.      On the front page, the title is                   03:17:49

 6   "Major AB 900 Facility-Related Activities Recap, Week of                   03:17:50

 7   08/1}/07."     The correct request for production numbers                  03:17:53

 8   ECDCR 009795.001, which has been repeated four times,                      03:17:59

 9   which is an interesting way of numbering.                                  03:18:16

10                But, anyway, do you recognize this document,                  03:18:21

11   Mr. Tilton?                                                                 03:18:22

12        A.      Not specifically, no.                                          03:18:23

13        Q.      From time tO,time, did you receive reports,                    03:18:25

14   about AB 900 implementation activities?                                     03:18:30

15        A.      Yes.                                                           03:18:34

16                MS. TILLMAN:     Just for the record, my copy ,has             03:18:34

17   different page numbers on the bottom.        Does yours --                  03:18:36

18   yours does not.     I'll show what you gave me.        I think              03:18:38

19   mine has numbers ending in 0002, 3, 4.        Okay.     I'm not             03:18:46

20   sure what the exhibit shows. The exhibit does have the                      03:18:53

21   0001 through 4, I believe.                                                  03:18:55

22                MR. BIEN:   The miracle of modern technology.                  03:19:05

23   Mine is slightly different, but it is the same.                             03:19:07

24        Q.      So Ms. Tillman is correct.     The exhibit does                03:19:09

25   have consecutive numberingi is that correct, Mr. Tilton?                    03:19:15
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 1        A.      Yes.                                                       03:19:19

 2        Q.      On the first page of Exhibit 9, do you recall              03:19:25

 3   that one issue that came up in terms of AB 900                          03:19:28
                                                                                    (
 4   implementation while you were secretary was the issue of                03:19:31

 5   Valley Fever affecting some of the construction sites in                03:19:38

 6   the Central Valley?                                                     03:19:42

 7        A.      Yes.                                                       03:19:44

 8        Q.      And what was that issue, as you understood it?             03:19:45

 9        A.      Well, we received a letter from the Receiver's             03:19:46

10   office, I believe, that basically told us we could not                  03:19:47

11   do construction in the Valley and made us question why                  03:19:50

12   was he doing it.                                                        03:19:55

13                So, yeah,   it became an issue in terms of how             03:19:57

14   assessing, how do we mitigate the risk of Valley Fever                  03:20:00

15   if we do construction in the Valley, which were many of                 03:20:04

16   our sites.                                                              03:20:05

17        Q.      Okay.   And did you -- while you were                      03:20:06

18   secretary, did you take steps to mitigate the risk of                   03:20:07

19   Valley Fever in these construction projects?                            03:20:13

20        A.      Yes.                                                       03:20:15

21        Q.      Okay.   The next item, No. 3-, is "Mental Health           03:20:16

22   Projects."     Is it correct that prior to -che enactment of            03:20:21

23   AB 900, the Department had existing plans to construct                  03:20:32

24   certain mental health projects?                                         03:20:38

25        A.      Yes.                                                       03:20:40
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 1   who were knowledgeable about the mental health                        03:30:33

 2   population to assist us in determining, what is the best              03:30:35

 3   way to approach the mental health population who has                  03:30:39

 4   come into contact with the criminal justice system, and               03:30:43

 5   not just from the CDCR perspective, but the entire                    03:30:47,
                                     "



 6   State.                                                                03:30:47

 7               This body was already set up with ,experts that           03:30:47

 8   represented all those different groups that allowed me                03:30:51

 9   to walk in and learn and get a perspective on it.                     03:30:54

10        Q.     And in the middle of the second full paragraph            03:30:58

11   on 'Exhibit 10, there's a quote attributed to you, second             03:31:02

12   sentence,   "Persons with mental illness traditionally                03:31:06

13   have been underserved and often end up in jailor prison               03:31:08

14   due to few community alternatives and a lack of                       03:31:11

15   understanding of the needs of these individuals.      These           03:31:16

16   five projects are creative approaches to serving this                 03:31:17

17   population. "                                                         03:31:22
                                                             \
18               Were you giving out awards in approximately               03:31:25

19   March of 2008?                                                        03:31:28

20        A.I    Yes.                                                      03:31:29

21        Q.     And what was the purpose of those awards?                 03:31:30

22        A.     To recognize what we determined as a group who            03:31:32

23   has best practices and had a process for people who                   03:31:34

24   submitted proposals, and we approved five, what' I                    03:31:39

25   consider exemplary programs.                                          03:31:43
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 1        Q.   Exhibit 11, if you look at it, is a list of                    03:31:48

 2   the prize winners.                                                       03:31:51

 3        A.   (Witness reviewing document.)                                  03:31:55

 4             MS. TILLMAN:        Just for the record, that's a              03:32:07

 5   double-sided exhibit.                                                    03:32:09

 6             MR. BIEN:     Okay.                                            03:32:17

 7        Q.   The second sid~ also has the full list of the                  03:32:18

\8   membership of COMIO.                                                     03:32:21

 9        A.   Urn-hum.                                                       03:32:23

10             MS. TILLMAN:        Was there a question?                      03:32:36

11             MR. BIEN:     No~     I think that was      I had one          03:32:37
                                                  (

12   other thing about COMIO I was g9ing to do.                               03:32:41

13             I'd like to mark as Exhibit 14 another page                    03:32:54

14   from COMIO website.     I think it was printed out on                    03:32:58

15   September 2nd, 2008.                                                     03:33:07

16                           (Whereupon, Plaintiffs'                          03:33:16

17                          £xhibit No. 14 was marked for                     03:33:16

18                          identification.)                                  03:33:16

19             THE WITNESS:        (Witness reviewing document.)              03:33:23

20             MR. BIEN:     Q.     Mr. Tilton, have you had a                03:33:23

21   chance to review Exhibit 14?                                             03:34:52

22        A.   Yes.                                                           03:34:54

23        Q.   Okay.      Does Exhibit 14 describe a legislative              03:34:54

24   initiative that COMIO was considering?                                   03:35:01

25        A.   It cOlild.     I don't know for sure.                          03:35:06
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 1       Q.    Okay.   Have you seen this document before?                 03:35:08

 2       A.    I don't recall seeing it before.                            03:35:11

 3       Q.    Okay.   Were you a~are, through your work on                03:35:13

 4   COMIO or as secretary or other work, that there were                  03:35:37

 5   some funding holes in terms of   resource~   to provide               03:35:42

 6   mental~healthcare for the mentally ilIon parole in                    03:35:47.

 7   certain communities?                                                  03:35:56

 8       A.    Yes.                                                        03:35:58

 9       Q.    And is it correct that you identified cases                 03:35:58

10   where people had ended up back in prison on parole                    03:36:03

11   violations when they might have been able to succeed in               03:36:09

12   the community with appropriate housing or treatment?                  03:36:12

13       A.    Yes.                                                        03:36:16

14       Q.    Just turn back, if you would, for a moment, to              03:36:27

15   Exhibit 11, which are the awards.    In the adult category            03:36:30

16   of the awards, you recognize several projects by                      03:36:34

17   superior courts in California; is that correct?                       03:36:44

18       A.    Yes.                                                        03:36:45

19        Q.   And what were these projects?                               03:36:45

20       A.    The two primary ones -- there's three listed                03:36:48

21   here, but two that I have kn9wledge of is the Behavioral              03:36:51

22   Health Court in San Francisco, as well as the Mental                  03:36:52

23   Health Treatment Court in Santa Clara County.                         03:36:56

24        Q.   What's the -- if you'd just briefly describe,               03:37:01

25   what is the project involved in those courts?                         03:37:01
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 1         A.     That's the date that the Public Works Board                 03:51:43

 2   would approve, whatever was being requested in the                       03:51:46

 3   letter.                                                                  03:51:49

 4         Q.     The last "Hot Issues" column says -- it says                03:51:53

 5   the same thing,    "DOF has stated they will not release                 03:51:57

 6   M/H Bed Packages until CDCR has an approved Bed Plan."                   63:51:59

 7                While you were at CDCR as secretary, did you                03:52:00

 8   understand that DOF was holding back on approval of                      03:52:16

.9   certain mental health bed projects pending court                         03:52:20

10   approval of a bed plan?                                                  03:52:25

11         A.     It was always an issue and a theme with them,               03:52:28

12   is this something the courts had supported and signed                    03:52:34

13   off on as part of our justification, so I can't cite                     03: 52 :'36

14   these particular ones, but it was a very consistent                      03:52:39

15   question, what are the courts' response to your                          03:52:41

16   proposal?     Is this going to satisfy the courts, yes or                03:52:44

17   no?                                                                      03:52:47

18                So it was a constant issue they would raise.                03:52:47

19   I don't know the particulars on this one, but that would                 03:52:51

20   be a consistent question they would raise.                               03:52:53

21                MR. BIEN:   Okay.   Mark as the next exhibit in             03:52:58

22   order, 16.     It's a document entitled "A Roadmap for                   03:53:42

23   Effective Offender Programming in California."                           03:53:48

24                            (Whereupon, Plaintiffs'                         03:53:51

25                            Exhibit No. 16 was marked for                   03:53:51
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1                             identification. )                                   03:53:51

2                 MR. BIEN:    Q.   What I've done, for the record,               03:53:53

3    to save paper, is include as the exhibit the executive                       03:54:03

4    summary and the introduction.                                                03:54:10

 5                MS. TILLMAN:      So this isn't a complete roadmap              03:54:27

 6   report, is it?                                                               03:54:27

 7                MR. BIEN:    It's not the complete roadmap                      03:54:27

 8   report.   I have the rest here, if you need to see it,                       03:54:27

 9   but this document has been in the record already.               If we        03:54:27

10   need to look at it          I will show you more, Mr. Tilton.                03:54:31

11   Thought I'd try to save a little bit of paper.                               03:54:32

12                MS. TILLMAN:      So Exhibit 1 consists of the                  03:54:36

13   title page, and then Pages 9 through 54; is that                             03:54:39

14   correct, or is that expert panel report?            I want to                03:54:44

15   double check with you, because it's all double-sided,                        03:54:48

16   so ...                                                                       03:54:51
                                                                                        )
17                MR. BIEN:    Is that what they gave you?                        03:54:53

18                MS. TILLMAN:      Yeah.                                         03:54:53

19                MR. BIEN:    Oh, great.    I'm really having good               03:54:53

20   luck here.     I guess we're not going to do this.                           03:54:57

21                MS. TILLMAN:      It doesn't work for you?                      03:55:09

22                MR. BIEN:    It's every other page?                             03:55:12

23                MS. TILLMAN:      Oh, no, it's fine.     All of the             03:55:12

24   pages are there between nine and 54.         Those are the                   03:55:13

25   pages you wanted for your exhibit?                                           03:55:18
v


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    1              MR. BIEN:   Can I just take a look?                          03:55:25

    2              MS. TILLMAN:      No worry.                                  03:55:27

     3             MR. BIEN:   Exhibit 16 is, as Ms. Tillman                    03:55:49

     4   pointed out, a section of report called The Roadmap.                    03:55:55

     5   It's Pages 9 through 54, but I'd like to mark as                        03:55:59

     6   Exhibit 17 the intro and the executive s).lmmary of the                 03:56:04

     7   report, which I thought I was marking the first time.                   03:56:08

     8                         (Whereupon, Plaintiffs'                           03:56:08

     9                         Exhibit No. 17 was marked for                     03:56:08

    10                         identification.)                                  03:56:08

    11             MR. BIEN:    Q.    Mr. Tilton, if you ~ould look,             03:56:50

    12   first, at Exhibit 17, which is the beginning of the                     03:56:52

    13   report.                                                                 03:56:55

    14             Do you recall that on or about June 29th,                     03:56:59

    15   2007, the CDCR expert panel     On adult offender and                   03:57:02

    16   re-entry recidivism issued its report to the California                 03:57:08

    17   State Legislature?                                                      03:57:15

    18        A.   Yes.                                                          03:57:16

    19        Q.   Can you explain what that report was and what                 03:57:16
                                                                                             ~
    20   this committee was?                                                     03:57:19

    21        A.   This was a committee that was authorized by                   03:57:21

    22   the legislature but requested and supported by me, to                   03:57:23

    23   bring in experts around the country to advise us about                  03:57:28

    24   addressing, largely, the program deficiencies in the                    03:57:32

    25   Department, and how -- whether they were already                        03:57:39
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 1    existing programs that were out there.                                03:57:41

 2              And, also, s'ince many of these were                        03:57:43

 3    practitioners, both from the program, as well as custody              03:57:44

 4    side, I asked them to give me advice in terms of how to               03:57:44

 5    get started.     You know, can't do it all at once.    Where          03:57:50

 6    should I prioritize my efforts?                                       03:57:55

 7         Q.   Is it correct that CDCR staff were directly                 03:57:57

 8    involved in addition to these outside experts in this                 03:58:01

 9    report?                                                               03:58:05

10         A.   Yes.                                                        03:58:05

11         Q.   Can you tell us who Marisela Montes is?                     03:58:13

12         A.   At the time of this report,    she was .thechief            03:58:18

13    deputy director over programs.                                        03:58:21

14         Q.   Did she report to you?                                      03:58:21

15         A.   No, she reported to the undersecretary.                     03:58:23

16         Q.   If you turn to the page that has Roman Numeral              03:58:51

17·   VIII at the bottom, part of the executive summary                     03:58:56

18         A.   Second page of the executive summary?                       03:59:04

19         Q.   Yes.                                                        03:59:06

20         A.   Okay.                                                       03:59:08

21         Q.   -- lists some external factors preventing                   03:59:08

22    programming success.     Do you see that section?     There's         03:59:12

23    a heading "External Factors"?                                         03:59:17

24         A.   Yes.                                                        03:59:22

25         Q.   Yeah, is it correct that the expert panel                   03:59:22
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 1   identified overcrowding as a factor that must be                           03:59:25

 2   addre~sed before     CDCR could address -- could implement                 03:59:29

 3   its rehabilitation programming?                                            03:59:37

 4        A.       Yes.                                                         03:59:40

 5                 MS. TILLMAN:     Objection.   Misstates the                  03:59:40

 6   evidence.                                                                  03:59:43

 7                 MR. BIEN:   Q.    Was Recommendation 1, which is             04:00:00

 8   stated on that same page, reduce overcrowding in its                       04:00:02

 9   prison facilities and parole offices?                                      04:00:05

10        A.       Yes.                                                         04:00:10

11           Q.    In the expert panel, also made a series of                   04:00:29

12   recommendations to CDCR as to how to identify and                          04:00:35

13   develop and then implement rehabilitation programs?                        04:00:47

14           A.    Yes.                                                         04:00:51

15           Q.    And did you endorse these recommendations as                 04:00:51

16   secretary::                                                                04:00:56

17           A.    Yes.                                                         04:00:57

18           Q.    As secretary?                                                04:00:57

19           A.    Yes, officially.     There's one part of the                 04:00:58

20   report that I took exception to, but the issues that                       04:01:01

21   dealt with how. to put programs in place, I was                            04:01:05

22   wholeheartedly supportive of and thankful.                                 04:01:09

23           Q.    And what part of' the report did you take issue              04:01:11

24   with?                                                                      04:01:12

25           A.    There's some parts to the report that deal                   04:01:13
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 1   with managing the population, which were outside the                   04:01:14

 2   scope of the task force, and I believe were -- I                       04:01:16

 3   describe them more than the minor report, that the rest                04:01:20

 4   of the -- we put in the report as an appendix, but the                 04:01:23

 5   rest   o~   the -- it didn't have the same liberation as the           04:01:26

 6   bulk of the recommendations.                                           04:01:30

 7          Q.    The second recommendation, which is on the                04:02:06

 8   next page of the executive'summary, is, "Enact                         04:02:11

 9   legislation to expand its system of positive                           04:02:13

10   reinforcements for offenders who successfully complete                 04:02:17

11   the implementation program requirements and comply with                04:02:19

12   institutional rules in prison, and fulfill parole                      04:02:20

13   obligations in the community."                                         04:02:26

14                Did you endorse these recommendations,                    04:02:27

15   Secretary Tilton?                                                      04:02:29

16          A.     Yes.                                                     04:02:32

17          Q.    And at the time you left CDCR, had any                    04:02:32

18   legislation to achieve these goals been enacted?                       04:02:37

19          A.     Yes.                                                     04:02:45

20          Q.    Anq when do you recall that was?                          04:02:47

21          A.    Well, there's only been one bill in my tenure,            04:02:50

22   in 30 years, that provide reduction in the prison                      04:02:54

23   sentence, basically is the bill that says you complete                 04:02:57

24   drug treatment programs, you get discharged from parole.               04:03:01

25                 So that's an example, and then there are other           04:03:06
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 1   It's whether they actually complete the program.                     04:04:11

 2        Q.   Is it also correct that you understood and                 04:04:15

 3   have advocated for increasing parole programs in the                 04:04:22

 4   first several months upon parolee's discharge from                   04:04:29

 5   prison?                                                              04:04:33

 6        A.   Yes.                                                       04:04:34

 7        Q.   Why is. that?                                              04:04:34

 8        A.   Because if you don't catch them and keep them              04:04:35

 9   on the straight and narrow there, you'll lose them.      The         04:04:38

10   biggest recidivism is during those first 60 to 90 days.              04:04:39

11        Q.   Okay.   In looking at Recommendation 2, it also            04:04:46

12   talks to program reinforcements for program                          04:04:52

13   participation and good behavior in prison.                           04:04:58

14             While you were still secretary of CDCR, were               04:04:59

15   you considering any programs to reward or incent                     04:05:03

16   prisoners to complete programs ,while they were .in                  04:05:06

17   prison, other than the ones you've discussed?                        04:05:12

18        A.   Yes, and we also had behavior as part of it.               04:05:13

19   And we, in fact, had ruled it out in a couple of prisons             04:05:17

20   in terms of rewarding good behavior, which would be an               04:05:20

21   incentive for people to be in the program.                           04:05:22

22        Q.   And what kind of rewards were you considering?             04:05:26

23        A.   They had a list of issues, many of them not                04:05:27

24   fiscal, first priority to canteen, first in line to chow             04:05:29

25   hall, priority to phones, visiting, access -- first call              04:05:34
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 1   to access to programs and putting back in what used to                  p4:05:38

 2   be in place, which we call privilege cards, which means                 04:05:43

 3   if you're in this, performing your program and behaving               /,04:05:45

 4   yourself, you get a preferential access to the programs                 04:05:45

 5   in the facility.                                                        04:05:50

 6        Q.   Did you also consider awarding credits for                    04:05:53

 7   prisoners who completed or graduated from various stages                04:06:00

 8   of rehabilitation programs?                                             04:06:03

 9       A.    We did, and this is where the debate is for                   04':06:04

10   me, personally, about whether to use that to get                        04:06:06

11   existing credits, or is i t on top of it?       And there's a           04:06:10

12   proposal in the report that says, give everybody credit                 04:06:13

13   for being good, and, on top of that, you get more credit                04:06:13

14   for staying in program.    And I am opposed to that.                    04:06:20

15        Q.   Which part are you opposed to?                                04:06:24

16        A.   The fact that you get all of the credit for                   04:06:26

17   doing nothing, and then you have to get more credit if                  04:06:28

18   you actually perform.     I'm an advocate for                           04:06:31

19   performance-based credit, not everybody gets 50/50 to                   04:06:34

20   start off with, and now you get more on top of that,                    04:06:38

21   especially for violent offenders:                                       04:06:39

22        Q.   Is it correct under CDCR' s current >system of                04:06:43

23   credits that a prisoner gets the same credit for                       .04:06:48

24   attending an educational program as he might get for                    04:06:52

25   graduating from an educational program?                                 04:06:57
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 1                             (Whereupon, Plaintiffs'                            04:20:47

 2                             Exhibit No.    21 was marked for                   04:20:47

 3                             identification. )                                  04:20:47

 4                 MR. BIEN:    Q.    I'm only going to ask you                   04:20:35

 5    about -- there's a reference to Coalinga on Page 6.                         04:21:18

 6                 My question is, does that refresh your                         04:21:30

 7    recollection that CDCR,        in 2006, was advocating to                   04:21:31

 8    increase its use of Coalinga State Hospital beds for                        04:21:38

 9    mentally ill prisoners?                                                     04:21:42

'10                MS. TILLMAN:      Objection.    Misstates the                  04:21:46

11    evidence.                                                                   04:21:46

12                 THE WITNESS:      Well, two points.     This document          04:21:47

13    was prepared before I got to the agency.                                    04:21:48

14                 MR. BIEN:    Q.    Okay.                                       04: 21: 54.

15            A.   And I've already stated that it was one of the                 04:21:54

16    issues I was considering -- as configuration for our bed                    04:21:57

17    plan.                                                                       04:22:01

18            Q.   What happened with the Coalinga issue, while                   04:22:02

19    you were there?                                                             04:22:05

20            A.   When it was raised at Mental Health, I made a                  04:22:07

21    casB that they needed those beds, and, therefore, it was                    04:22:09

22    not available for us to use.                                                04:22:12

23            Q.   At the time you left CDCR in the spring of                     04:22:19

24    2008, were you aware that there Were still many hundreds                    04:22:24

25    of empty beds at Coalinga State Hospital?                                   04:22:31
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 1           A.   Not specifically, no.                                          04:22:35

 2           Q.   .In your discussion with community mental                      04:22:46

 3   health providers and counties, you understood that                          04:22:50

 4   they -- there's a population of -- forensic population                      04:22:55

 5   called the 1ST pop~lation, Incompetent to Stand Trial                       04:23:02

 6   population that has not been able to timely access DMH                      04:23:09

 7   beds?                                                                       04:23:16

 8                MS. TILLMAN:      Is that a question?                          04:23:17

 9                MR ..BIEN:   Yes.                                              04:23:25

10           Q.   Are you aware that there's a backlog of                        04:23:25

11   referrals from counties of people who are incompetent to                    04:23:25

12   stand trial to DMH?                                                         04:23:26

13           A.   Yes.                                                           04:23:34

14           Q.   Okay.   Do you recall when you were -- I guess                 04:23:36

15   you were at the Department of Finance, but a pay raise                      04:24:12

16   for CDCR medical and mental health clinicians was                           04:24:16

17   implemented in late 2005?                                                   04:24:20

18           A.   I don't recall.                                                04:24:24

19                MS. TILLMAN:      I am going to object.     I'm not            04:24:25

20   sure that was 2005.       I'll let him answer.                              04:24:26

21                Just if you recall.                                            04:24:29

22                THE WITNESS:      I don't recall the implication.              04:24:29

23   I know that an issue came forward, and we were -- moved                     04:24:32

24   forward with a recommendation to support.                                   04:24:34

25                MR. BIEN:    Q.     Do you recall that there was --            04:24:43
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 1          A.   Yes.                                                          04:31:37

 2               MS. TILLMAN:. Just for the record, it's not                   04:31:39

 3   quite adjacent.                                                           04:31:42

 4               THE WITNESS:      You can throw a rock at it.                 04:31:48

 5               MR. BIEN:   I think you can see itj is that                   04:31:50

 6   correct?                                                                  04:31:51

 7               THE WITNESS:      Pretty close.   You could turn in           04:31:52

 8   and think it 'os a prison.                                                04:31:55

 9               MR. BIEN:   I'd like to mark as the next                      04:32:22

10   exhibit No. 23, a Senate Budget Hearing Briefing by                       04:32:25

11   Mr. Tilton in 2008.     Bears Production No. DEFS032628                   04:32:35

12   through 643.                                                              04:32:38

13                           (Whereupon, Plaintiffs'                           04:32:49

14                           Exhibit No. 23 was marked for                     04:32:49

15                           identification. )                                 04:32:49

16               MS. TILLMAN:      Just for the record, was there              04:33:18

17   any sort of Bates on this?                                                04:33:20

18               MR. BIEN:   My copy has it.                                   04:33:23

19               MS. TILLMAN:      If you could just read it into              04:33:25

20   the record, that would help me.        DEF?                               04:33:26
                                                                                          (
21               MR. BIEN:    DEFS032628, on the first page.                   04:33:29

22               MS. TILLMAN:      Okay.   Thank you.                          04:33:36

23               MR. BIEN:    Q.    Mr. Tilton, can you identify               04:34:14

24   this document for the record?                                             04:34:17

25      ~   A.Well, it's confusing to me because it doesn't                    04: 34 : 19.
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 1   look like this'is testimony by me.        It looks like this              04:34:22

 2   is copies of BCPs or proposals.        It could have been by              04:34:26

 3   the title.        It looks like the normal budget hearing, and            04:34:32

 4   these were topics, BCPs, that were discussed.                             04:34:36

 5        Q.         Do you recall that in early 2000, as part of              04:34:42

 6   the 2008 budget, ,that administration proposed a                          04:34:46

 7   population reduction measure?                                             04:34:55

 8        A.         Yes.                                                      04:34:58

 9        Q.         And is that reflected here on Page 2, the                 04:34:59

10   20-month early release of inmates and summary parole?                     04:35:05
               ',.
11        A.         Yes.                                                      04:35:11

12        Q.         And did you -- is it part of your                         04:35:11

13   responsibility tQ present this proposal to legislature                    04:35:12

14   in early 2008?                                                            04:35:16

15        A.         Yes.                                                      04:35:17

16        Q.         Did you do so?                                            04:35:17

17        A.         Yes.                                                      04:35:19
                                                              (
18        Q.         It's correct that this proposal excluded                  04:35:29

19   inmates not currently convicted and who have a history                   ,04:35:34

20   of conviction for serious or violent offensei there                       04:35:39

21   account code is 11927 or 667.5(c)?                                        04:35:40

22        A.         Yes.                                                      04:35:46

23        Q.         And also excluded, inmates who had a register             04:35:46

24   under PC290?                                                              04:35:50

25        A.         That's correct.                                           04:35:53
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 1   providing incentives for people to stay in programs.                          04:41:26

 2                So we talked about credits, while tBeY're in                     04:41:31

 3   prison, and we also talked about removing them from                           OL.!::41:34
                                         ~




 4   parole if, in fact, they would demonstrate certain                            04:41:39

 5   successes.     So it was in that whole framework for                          04:41:42

 6   providing an incentive for people to stay in program and                      04:41:43

 7   complete programs.                                                            04:41:46

 8                THE VIDEOGRAPHER:     Off the record.    The time                04:42:09

 9   is 4:42 p.m.                                                                  04:42:09

10                (Recess taken.)                                                  04:42:13

11                            (Whereupon, Plaintiffs'                              04:42:09

12                            Exhibit Nos. 24 through 26 were                      04:42:09

13                            marked for identification.)                          04:42:09

14                THE VIDEOGRAPHER:     We are now on the record at                05:01:29

15   5:01 p.m.     This is the beginning of Video No.4 in the                      05:01:31

16   deposition of James Tilton.                                                   05:01:3.6

17                Please proceed.                                                  05:01:39

18                MR. BIEN:    Q.   Mr. Tilton, I've asked the                     05:01:41
                                                                               (


19   dourt reporter to mark as Exhibit 24 to your deposition                       05:01:45

20   a two-page document.       It says, top of the first page,                    05:01:45

21   "Agenda Governor's meeting with Legislative Leaders on                        05:01:48
                     \
22   Prisons.     It has numbers E-CDCR 000414 and 415.                            05:01:51

23                Do you recall attending a meeting, where the                     05:01:59

24   Governor made a presentation to legislative leaders                           05:02:09

25   concerning prison options?                                                    05:02:09
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                                           \
 1        A.     Can you give me a time frame?                                05:02:09

 2        Q.     I would only guess from what you talked about                05:02:10

 3   earlier, this was somewhere around the special session                   05:02:13

 4   because it seemed to have things that kind of dropped                    05:02:16

 5   out after that, but I don't really know.       I can't make a            05:02:20

 6   representation to you.                                                   05:02:23

 7        A.     Yeah, no, there were -- I can't link this                    05:02:25

 8   document to a particular meeting, even though there were                 05:02:27

 9   meetings with staffers, as we tried to rule out the                      05:02:30

10   emergency session.     This looks like trying to throw                   05:02:34

11   everything on the plate and get the considerations for a                 05:02:38

12   couple options. and see what they were willing to

13   consider.                                                                05:02:42

14        Q.     I understand that you can't identify this                    05:02:43

15   document like that.     I just want to use it as a guide,                05:02:46

16   just to see if I can understand what some of these                       05:02:49

17   options were that were being considered.                                 05:02:52

18               Under Point 3(a), immediate, I see -- we've                  05:02:57

19   talked about out-af-state beds, but I also see,        "Lease            05:03:01

20   of empty jail beds."                                                     05:03:05"

21               Did you undertake any investigation or one of                05:03:07

22   your staffers an investigation about whether there were                  05:03:10

23   additional jail beds to lease in California?                             05:03:12

24        A.     Yes.                                                         05:03:16

25        Q.     And what did you find out?                                   05:03:16


                                 .J
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 1       A.      No.                                                          05:03:17

 2        Q.     'Is it correct that during the time that you                 05:03:18

 3   were secretary, that CDCR actually lost over 1,000 jail                  05:03:24

 4   beds, at least for that account?                                         05:03:30

 5       A.      Yes.                                                         05:03:33

 6        Q.     And that reduced your overall capacities?                    05:03:33

 7       A.      Went the wrong way.                                          05(: 03: 36

 8        Q.     Okay.   In the short-term item, Item 3(b)2, one              05:03:38

 9   of them is, eliminate state prison diagnostic                            05:03:46

10   evaluations.                                                             05:03:49

11               Do you know what that's in reference to?                     05:03:49

12        A.     Yes, there's a process -- I think it's a                     05:03:53

13   mental health evaluation, basically diagnostics, and it                  05:03:56

14   ends up with very f~w people actually getting to us, but                 05:03:59

15   it's a workload, and it takes up beds in our system.                     05:04:04

16        Q.     Was this a proposal to either change a State                 05:04:06

17   law or --                                                                05:04:10

18        A.     Just not do it.                                              05:04:10

19        Q.     Not do it.   Okay.                                           05:04:12

20               Do you recall what happened with that                        05:04:13

21   proposal?                                                                05:04:14

22        A.     There wasn't support, I believe, from the                    05:04:16

23   legislature to do it.                                                    05:04:18

24        Q.     Are these, like, 90-day evaluations, 60-day,                 05:04:23

25   something like that?                                                     05:04:26
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 1        A.       90-day, I think, and it turned out there was               05:04:27

 2   only a few counties that were using it (inaudible), but                  05:04:29

 3   others disagreed.                                                        05:04:33

 4        Q.       Do you know what the reference to temporary                05:04:39

 5   facilities is, under short-term?                                         05:04:.42

 6        A.       This is, again, coming up with a list of                   05:04:44

 7   things we should go try to explore and see whether it                    05:04:47

 8   made sense to bring in temporary trailers, or whatever                   05:04:48

 9   else like that, on prison grounds.                                       05:04:51

10           Q.    Do you recall a time -- I think it was when                05:04:55

11   you were secretary, where I understood they were                         05;04:58

12   actually using tents in a yard; is that correct?                         05 :'05: 00

13        A.       Yes, not while I was secretary.                            05:05:03

14           Q.    Not while you were secretary?                              05:05:05

15           A.    While I was secretary, we didn't give them                 05:05:07

16   tents.       They just were on the yard.                                 05:05:09

17           Q.     Okay.                                                     05:05:13

18           A.    Not kidding.                                               05:05:14

19           Q.     Really?   What about use of empty DJJ                     05:05:20

20   facilities, was that something that your agency has                      05:05:23

21   explored?                                                                05:05:24

22           A.     Yes.                                                      05:05:25

23           Q.     Where does that stand right now, when you                 05:05:26

24   left?                                                                    05:05:29

25
             .
             A.     We're proposing to do it, Paso Robles.                    05:05:30
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 1    sentencing commission that also failed?                                   05:09:13

 2         A.       Yes.                                                        05:09:16

 3         Q.       There1s a series of other options.      I think we          05:09:34

 4    have discussed some of them.       Selected series of                     05: 09: 3(9

 51   non-violent offenders served time locally.          Locally               05:09:40

 6    would mean in county ,jails?                                              05:09:46

 7         A.       Or program.                                                 05:09:48

 8         Q.       Or program.                                                 05:09:49

 9                  And various early release programs for certain              05:09:56

10    categories of inmates, either aged or disab+ed.          You              05:10:03

11    discussed those?                                                          05:10:10

12         A.       Yes.                                                        05:10:10

13         Q.       Did any of those proposals go forward, to your              05:10:11

14    ,knowledge?     Were any of them approved before you left as              05:10:15

15    secretary?                                                                05:10:19

16         A.       No.                                                         05:10:20

17         Q.       No. 8 iS I "Increase Work Credits for                         "
                                                                                05:10:27

18    Non-serious l Non-violent Inmates."                                       05:10:30

19                  Can you discuss -- do you recall what any of                05:10:35

20    those proposals were?                                                     05:10:38

21         A.       WeIll generallYI this is identifying l and this             05:10:39

22    is where I was supporting    I   if it's a non-violent                    05:10:42

23    offender l we do give additional credits for performance                  05:10:45

24    in program l and that's what this is.                                     05:10:51

25          Q.      That's the program we talked about a little                 05:10:53
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 1    responsibility for parole from the State to local'                          05:16:30

 2    entities; is that correct?                                                  05:16:36

 3            A.     Yes.                                                         05:16:38

 4            Q.     And did you -- did you testify concerning that               05:16:39

 5    proposal and your reaction to it?                                           05:16:45

 6            A.     No.                                                          05:16:47

 7            Q.     Did you express an opinion    abo~t   that proposal          05:16:48

 8    to the LAO or to the legislature?                                           05:16:53

 9                   MS. TILLMAN:   Do you want to take it one by                 05:17:01

10   , one?                                                                       05:17:03

11                   MR. BIEN:   Yeah.                                            05:17:,04

12            Q.\    Do you recall expressing -- speaking to any                  05:17:04

13    legislative committees or any legislators about the LAO                     05:17:07

14    proposal?                                                                   05:17:,11'

15            A.     All I did do is say, We're more than willing                 05:17:12

16    to look at all options, if you want to give us something                    05:17:14

17    that you would support.        They kept wanting us to                      05:17:16

18    negotiate with ourselves.          And we said r not going to do            05:17:19

19    that.        So if you have something you'll support r I'd like             05:17:20
        I


20    to hear what that is.                                                       05:17:24

21            Q.      By you, you meant the legislature versus the                05:17:25

22    LAO?                                                                        05:17:26

23            A.      Legislature versus administration.      The point           05:17:28

24    I was asked is, so we would -- our position was, we'd                       05:17:31

25    accept any alternative,       if people were willing to -- if               05:17:36



                                               /
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 1   you have votes for something, let us know what it is,                  05:17:39

 2   but they kept wanting us to, as I described, negotiate                 05:17:40

 3   with ourselves.      Wait a minute, we have a proposal on              05:17:43

 4   the table.     What would you support versus us keep                   05:17:48

 5   changing our position?                                                 05:17:49

 6        Q.       To the extent the LAO proposal involved local            05:17:50

 7   communities taking responsibility for people who were                  05:17:58

 8   returning to their communities, was it consistent with                 05:18:03

 9   the re-entry kind of programs that you were advocating?                05:18:08

10        A.   ' In some ways, but it had significant funding               05:18:12

11   problems with their proposals.      They were advocating as            05:18:15

12   if they were providing resources to fund their proposal,               05:18:19

13   and the counties perspective, they were taking resources               05:18:21
               ,
14   away and putting it over here and calling it money from                05:18:24

15   the State.                                                             05:18:27

16                 So it wasn't getting very far, because without           05:18:27

17   funding, it was causing a huge response from the                       05:18:31

18   local -- same issue as our proposal.      How do you fund              05:18:34

19   what happens to these people if they're not in prison?                 05:18:39

20        Q.       In general, has that been a major issue you've           05:18:43

21   dealt with in your meetings with both legislative                      05:18:48

22   leaders and community representatives about the various                05:18:51

23   prison and parole reform options?                                      05:18:54

24        A.       Yes.                                                     05:18:57

25        Q.       In other words, who -- if we were going to               05:18:58
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 1                          (Whereupon, Plaintiffs'                          05(: 42: 32

 2                          Exhibit No. 29 was marked for                    05:42:32

 3                          identification. )                                05:42:32

 4              MR. BIEN:     It has a Production No. of                      05:42:40

 5    DSUPP003331.                                                            05.: 42: 43

 6              THE WITNESS:       (Witness reviewing document.)              05:43:03
                                         I
 7              MR. BIEN:     Q.   Turning to the second page of              05:43:28

 8    this document, Mr. Tilton, were you aware that the                     05:43:52

 9    anybody inform you that the Receiver had expressed                      05:43:56

,10   concerns about the infill projects at North Kern and                    05:43:59

11    Wasco?                                                                  05:44:02

12         A.   Not specifically, no.                                         05:44:07

13         Q.   I think you mentioned earlier about the Valley                05:44:10

14    Fever issue                                                             05:44:13

15         A.   Right.                                                        05:44:14

16         Q.   -- but in terms of the issue expressed here in                05:44:15

17    this document, that healthcare may be difficult.          Adding        05:44:17

18    additional inmates t? these prisons might be difficult,                 05:44:27

19    given the level of healthcare facilities at the prison.                 05:44:35
                                                         <r.>


20    Was that ever expressed to you?                                         05:44:35

21         A.   No.                                                           05:44:38

22              MR. BIEN:     Mark as Exhibit 30, which I think               05:45:11

23    will be the last one.                                                   05:45:14

24                          (Whereupon, Plaintiffs'                           05:45:27

25                          Exhibit No. 30 was marked for                     05:45:27
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 1                             identification. )                                 05:45:27

 2                 THE WITNESS:      (Witness reviewing document.)               05:45:30

 3                 MR. BIEN:    Q.    Do you recall, Mr. Tilton,                 05:46:32

 4    receiving this e-mail on or about July 10, 2007, from                      05:46:34-

 5    Mr. Gore?                                                                  05:46:38

 6.                MS. TILLMAN:      Before he answers the questlon,             05:46:40

 7    let me just state for the record that G-O-V PRIV 001091,                   05:46:42

 8    obviously, the necessary privileges of attorney/client                     05:46:44

 9    privileged, a little bit of confidence privileged, and                     05:46:48

10    executive privileged were asserted by defendant.            It             05:46:51

11    appears that this was a document produced pursuant to a                    05:46:55

12    court order.                                                               05:46:59

13                 That being said, we will allow the witness to                 05:47:01

14    answer certain questions regarding this document, and                      05:47:04

15    we'll take it on a question-by-question basis at this                      05:47:06

16    time.                                                                      05:47:16

17                 MR. BIEN:    Okay.                                            05:47:16

18                 THE WITNESS:      I'm aware of this activity                  05:47:16

19    taking place.       I don't recall seeing the memo, but I                  05:47:16

20    probably did, since it was cc'd to me.                                     05:47:19

.21                MR. BIEN:    Q.    Is it correct that in the                  05:47:22

22    summer of 2007, CCR was exploring various methods of                       05:47:23

23    reducing overcrowding, and, at the same time, trying to                    05:47:29

24    improve puplic safety?                                                     05:47:35

25            A.   Yes.                                                          05:47:37
